                      UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA                            )       DOCKET NO. 3:97CR198-V
                                                    )
               vs.                                  )       ORDER TO SUBSTITUTE
                                                    )       COUNSEL
                                                    )
WAQAS YAQUB CHAUDHARY                               )


       THIS MATTER is before the Court on Motion of the United States to substitute counsel

in the above captioned case.

       NOW, THEREFORE, IT IS ORDERED that the Motion of the United States to

Substitute Counsel is GRANTED and the Clerk is directed to make all appropriate changes in the

Court’s records to reflect same.

       The Clerk is directed to certify copies of this Order to Defendant, defense counsel, U.S.

Marshal Service, U.S. Probation, and the United States Attorney.



                                                Signed: May 30, 2006




       Case 3:97-cr-00198-MOC          Document 48        Filed 05/30/06      Page 1 of 1
